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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )              Case No. 8:12CR313
                     Plaintiff,                )
                                               )
       vs.                                     )
                                               )                   ORDER
ENRIQUETA BATIZ,                               )
                                               )
                     Defendant.                )


       This case is before the court on the defendant Enriqueta Batiz's Motion to Disclose

Expert Testimony (#91) and her Motion for Notice of Rule 404(b) Evidence (#92). The

government has responded (#99) to the motion to disclose expert testimony by naming the

experts they will call and the subject matter of their testimony. The government has

responded (#100) to the motion of disclosure of 404(b) evidence by identifying specific

evidence it intends to offer.

       Both motions will be granted and deemed satisfied by the government's responses.

       IT IS ORDERED:

       1. Defendant Enriqueta Batiz's Motion to Disclose Expert Testimony (#91) is

granted and deemed satisfied by the government's response (#99).

       2. Defendant Enriqueta Batiz's Motion for Notice of Rule 404(b) Evidence (#92) is

granted and deemed satisfied by the government's response (#100).

       Dated this 14th day of March 2013.

                                            BY THE COURT:


                                            s/ F.A. Gossett, III
                                            United States Magistrate Judge
